        Case NE/4:22-cv-03184 Document 7 Filed 10/07/22 Page 1 of 11




                BEFORE THE UNITED STATES JUDICIAL PANEL
                     ON MULTIDISTRICT LITIGATION



In re: Nelnet Servicing, LLC Data Security   MD No. 3053
Litigation

This Document Relates To:

All Actions



PLAINTIFFS HERRICK, CARLSON, BALLARD, BEASLEY, MILLER, FREEMAN
 AND MORRIS’ RESPONSE IN OPPOSITION TO THE MOTION TO TRANSFER
             Case NE/4:22-cv-03184 Document 7 Filed 10/07/22 Page 2 of 11




I.        INTRODUCTION

          Plaintiffs Jesse Herrick, Robert Carlson, Carey M. Ballard, Amanda Beasley, Barbara

Miller, Kennedy Freeman and Aaron Morris (“Plaintiffs”), the Plaintiffs in Herrick v. Nelnet

Servicing, LLC, No. 4:22-cv-03181 (D. Neb.); Carlson v. Nelnet Servicing, LLC, No. 4:22-cv-

03184 (D. Neb.); Ballard v. Nelnet Servicing, LLC, No. 4:22-cv-03815 (D. Neb.); Beasley v. Nelnet

Servicing, LLC, No. 4:22-cv-03187 (D. Neb.); Miller v. Nelnet Servicing, LLC, No. 4:22-cv-03193

(D. Neb.); and Kennedy Freeman, et al. v. Nelnet Servicing, LLC, No. 4:22-cv-03197 (D. Neb.) 1,

pursuant to 28 U.S.C. § 1407 and Panel Rule 6.1(d), through their undersigned counsel, hereby

submit this Response in Opposition to the Motion to Transfer. ECF No. 1. Plaintiffs oppose

consolidation and centralization of the Member Cases and Related Actions, since there is no need

to create additional delay and litigation through further briefing when voluntary coordination under

28 U.S.C. § 1404 is already taking place. In the alternative, should the Panel feel that centralization

and consolidation are appropriate, Plaintiffs respectfully submit that the MDL should be

centralized and consolidated in the District of Nebraska where Nelnet Servicing, LLC (“Nelnet”),

the common Defendant in all of the Member Cases, is headquartered and the vast majority of the

Member Cases are pending.

II.       BACKGROUND

          Plaintiffs’ actions, like all other actions in the Member Cases, stem from a data breach

reported by Defendant Nelnet on or about June or July 2022, involving the theft of personally

identifying information (“PII”) from Nelnet’s systems by a still-unknown group of hackers. While




1
    Plaintiffs represent six (6) of the twenty (20) Member Cases.

                                                  1
           Case NE/4:22-cv-03184 Document 7 Filed 10/07/22 Page 3 of 11




additional defendants 2 have been named in subsequent complaints, each action focuses on the

breach of Defendant Nelnet’s systems.

       As of this filing, there are twenty-two (22) related actions (the “Actions”) pending in four

(4) districts across the country, and eighteen (18) of the cases are pending in the District of

Nebraska before Judge Gerrard, including Plaintiffs’ actions. Plaintiffs’ actions include the first-

filed case (Herrick) and were filed between August 30, and September 16, 2022 in the District of

Nebraska. All of Plaintiffs’ actions were assigned to Judge Gerrard for disposition and Magistrate

Judge Cheryl R. Zwart for judicial supervision.

       Plaintiffs and their counsel in each of their respective actions are coordinated and aligned

to prosecute their claims efficiently on behalf of the Class. Moreover, undersigned counsel has

conferred with counsel for three of the actions pending outside of the District of Nebraska—Quinn

v Edfinancial Services, LLC et al., No. 1:22-CV-05467 (N.D. Ill. filed October 5, 2022); Kitzler

v. Nelnet Servicing, LLC, No. 2:22-cv-06550 (C.D. Cal., filed Sept. 13, 2022); and Eichenblatt v.

Nelnet Servicing, LLC, No. 6:22-CV-01794 (M.D. Fla. filed Oct. 3, 2022)—and through those

efforts, those three cases have agreed to voluntarily transfer to the District of Nebraska. In other

words, 21 of the 22 Actions will soon be pending in the District of Nebraska. Plaintiffs’ efforts to

centralize cases in the District of Nebraska promotes efficiency and underscores that the MDL

petition was premature in that the plaintiff filing the MDL petition failed to even attempt to self-

organize and/or centralize before filing the petition.

       The Motion therefore serves no true benefit to the Class. For the reasons discussed herein,

the Motion should be denied or, alternatively, the cases should be transferred to the District of


2
  Only two (2) actions, Kohrell v. Nelnet Servicing, LLC, et al., Case No. 3:22-cv-00314 (E.D.
Tenn.) and Quinn v Edfinancial Services, LLC, et al., No. 1:22-CV-05467 (N.D. Ill. filed October
5, 2022), name Edfinancial Services LLC as a Defendant.

                                                  2
           Case NE/4:22-cv-03184 Document 7 Filed 10/07/22 Page 4 of 11




Nebraska where the overwhelming majority of cases have chosen to litigate this dispute and where

Nelnet is headquartered.

       The Motion to Transfer will only serve to delay relief for Class Members or potentially

stifle it altogether. The Motion serves no true benefit to the Class. For the reasons discussed herein,

the Motion should be denied or, alternatively, the cases should be transferred to the District of

Nebraska where the majority of cases have chosen to litigate this dispute and where Nelnet is

headquartered.

III.   ARGUMENT

           A. The Cases Should Not Be Centralized

       The objectives of § 1407(a) are already being accomplished in the District of Nebraska,

and there is no need for the Panel to centralize the cases before Judge Gerrard. Centralization is a

“last solution after considered review of all other options.” In re [24]7.AI, Inc. Customer Data Sec.

Breach Litig., 338 F. Supp. 3d 1345, 1347 (J.P.M.L. 2018). This is true even where “[t]here is no

dispute that the[] cases share factual issues.” In re Hudson’s Bay Co. Customer Data Sec. Breach

Litig., 326 F. Supp. 3d 1372, 1373 (J.P.M.L. 2018). Under Section 1407(a), the Panel may

centralize pre-trial proceedings only “for the convenience of parties and witnesses” and to

“promote the just and efficient conduct of such actions.” These objectives are already served in

the District of Nebraska, and there is no need to centralize the two cases pending outside of the

District of Nevada with Plaintiffs’ cases and the other Member Cases that are before Judge Gerrard.

       The Spearman and Bump plaintiffs claim that all of the cases are in their “early stages” and

that therefore centralization by the Panel is appropriate. Mot. at 9-10. While it is true that the

cases are in their early stages, it does not necessarily follow that centralization by the Panel is

therefore appropriate. Plaintiffs and their undersigned counsel have made substantial progress in

coordinating the litigation in the District of Nebraska and the majority of cases are already pending

                                                  3
           Case NE/4:22-cv-03184 Document 7 Filed 10/07/22 Page 5 of 11




there. Certain of Plaintiffs’ counsel convened a phone call on September 9, 2022, with counsel

for the vast majority of cases filed as of that date, including counsel for Kohrell v. Nelnet Servicing,

LLC, No. 3:22-CV-00314 (E.D. Tenn. filed Sept. 8, 2022), in an attempt to coordinate and perhaps

centralize cases into the District of Nebraska. Furthermore, as discussed above, undersigned

counsel has conferred with counsel for three of the actions pending outside of the District of

Nebraska—Quinn (N.D. Ill.); Kitzler (C.D. Cal.), and Eichenblatt (M.D. Fla.)—and through those

efforts, those three cases have agreed to voluntarily transfer to the District of Nebraska. Therefore,

21 of the 22 Actions will soon be pending in the District of Nebraska—all through the efforts of

self-consolidation.

        A pending MDL will only serve to stifle voluntarily coordination efforts, delay recovery

for the Class, and force the parties and their counsel to expend unnecessary resources on wasteful

motion practice. In other words, transfer under § 1407 will accomplish the exact opposite of what

it is intended to do (i.e., reduce litigation costs and conserve time and effort of the parties) and may

only potentially serve to benefit the Plaintiff’s counsel in the “Spearman” and “Bump” actions who

initiated these proceedings.

        In circumstances like these, the Panel regularly denies centralization because transfer

would delay the progress of more advanced cases. See, e.g., In re Ocala Funding, LLC, Com.

Litig., 867 F. Supp. 2d 1332 (J.P.M.L. 2012) (denying centralization because one case is more

advanced procedurally than others); In re Louisiana-Pac. Corp. Trimboard Siding Mktg., Sales

Pracs. & Prods. Liab. Litig., 867 F. Supp. 2d 1346 (J.P.M.L. 2012) (same); In re Move Artwork

Copyright Litig., 473 F. Supp. 1381, 1382 (J.P.M.L. 2007) (“Centralization would also likely delay

the progress of one or more of the four actions.”). This is particularly true where, as here, delay

would result in “little or no benefit to the parties or putative class members.” In re Hyundai & Kia



                                                   4
              Case NE/4:22-cv-03184 Document 7 Filed 10/07/22 Page 6 of 11




GDI Engine Mktg., Sales Pracs., & Prods. Liab. Litig., 412 F. Supp. 3d 1341, 1343 (J.P.M.L.

2019) (denying centralization of 10 actions pending in four jurisdictions.).

           There is no reason to grind the orderly, efficient, and zealous prosecution of Plaintiffs’

cases—and for that matter all Actions—to a halt. Simply put, centralizing the cases would subvert

one of the paramount goals of Section 1407, which is to promote the just and efficient conduct of

litigation. See In re Sorin 3T Heater-Cooler Sys. Prods. Liab. Litig., 273 F. Supp. 3d 1357, 1358

(J.P.M.L. 2017) (“We see no reason to disrupt the parties’ successful efforts at informal

coordination when almost all parties agree that centralization would provide little or no benefit.”);

In re Holiday Cruise Line Tel. Consumer Prot. Act (TCPA) Litig., 118 F. Supp. 3d 1377, 1378

(J.P.M.L. 2015) (the movants failed to meet their heavy burden because the common issues were

not complex and because “[t]hese cases already are being managed in an orderly and efficient

manner.”); In re NEC Networks, LLC, 576 F. Supp. 3d 1375, 1376-77 (J.P.M.L. 2021)

(centralization “at this time” not “necessary for the convenience of the parties and witnesses or to

further the just and efficient conduct of this litigation”).

           It is also important to note that Defendant Nelnet similarly opposes centralization for the

same reasons discussed herein: namely, the Parties are self-consolidating. And Nelnet has not yet

attempted to move pursuant to 28 U.S.C. § 1404 to transfer the sole Member Case— Kohrell v.

Nelnet Servicing, LLC, et al., Case No. 3:22-cv-00314 (E.D. Tenn.)—that opposes transfer to the

District of Nebraska. Defendant Nelnet should make the attempt to transfer under Section 1404

before any centralization by this Panel, because Section 1407 transfer is supposed to be a “last

resort.”




                                                    5
           Case NE/4:22-cv-03184 Document 7 Filed 10/07/22 Page 7 of 11




           B. In the Alternative, Centralization in the District of Nebraska Is Appropriate

       There are numerous factors which the Panel typically takes into consideration in

determining the most appropriate transferee forum. Among those factors are (1) convenience of

the parties; (2) location of witnesses and other evidence; (3) whether the district is in an accessible

metropolitan location; (4) experience in management of class actions and complex litigation; (5)

the caseload of the transferee district; and (6) the number of cases pending in the jurisdiction. See,

e.g., In re Wheat Farmers Antitrust Class Action Litig., 366 F. Supp. 1087, 1088 (J.P.M.L.1973);

In re Preferential Drug Prod. Pricing Antitrust Litig., 429 F. Supp. 1027, 1029 (J.P.M.L. 1977);

In re Tri-State Crematory Litig., 206 F. Supp. 2d 1376, 1378 (J.P.M.L. 2002); In re Gen. Motors

Corp. Dex-Cool Prod. Liab. Litig., 293 F. Supp. 2d 1381, 1382 (J.P.M.L. 2003); In re Educ.

Testing Serv. Prt 7-12 Test Scoring Litig., 350 F. Supp. 2d 1363, 1365 (J.P.M.L. 2004).

       Should the Panel choose to centralize and consolidate the Member Cases before one judge,

Plaintiffs respectfully submit that the District of Nebraska is the most appropriate venue. In

selecting a transferee district, the Panel generally considers “where the largest number of cases is

pending, where discovery has occurred, where cases have progressed the furthest, the site of the

occurrence of the common facts, where the cost and inconvenience will be minimized, and the

experience, skill, and caseloads of available judges.” Manual for Complex Litigation (Fourth) §

20.131 (2004). Each of these factors favors the District of Nebraska.

       Twenty-one (21) of the twenty-two (22) Actions will are (or will soon be) pending in the

District of Nebraska. This key fact (that the majority of cases have now been or will be

consolidated before Judge Gerrard) renders the District of Nebraska as the most appropriate

transferee district. In re PersonalWeb Techs., LLC, 340 F. Supp. 3d 1373, 1374–75 (J.P.M.L. 2018)




                                                  6
          Case NE/4:22-cv-03184 Document 7 Filed 10/07/22 Page 8 of 11




(transferring cases to district where “[t]he majority of the cases are pending”); In re Zimmer Durom

Hip Cup Prods. Liab. Litig., 717 F. Supp. 2d 1376, 1378 (J.P.M.L. 2010) (same).

       Additionally, the key, indispensable, common-to-all cases Defendant, Nelnet, is

headquartered in the District of Nebraska, Lincoln Division, indicating that key documents and

witnesses are likely to be found in that District. The existence of key witnesses and documents in

a given district is one of the most important factors in deciding where an MDL should be located.

See In re Hill's Pet Nutrition, Inc., No. MDL No. 2887, 2019 U.S. Dist. LEXIS 93990, at *2

(J.P.M.L. June 4, 2019) (transferring to district because “Hill’s is headquartered in that district,

and it represents that its key evidence and witnesses are located there”); In re Santa Fe Nat.

Tobacco Co. Mktg. & Sales Pracs. Litig., 178 F. Supp. 3d 1377 (J.P.M.L. 2016) (“key witnesses

reside there, including employees and decision makers tasked with the development and execution

of product labeling, marketing and advertising”); In re FCA U.S LLC Monostable Elec. Gearshift

Litig., 214 F. Supp. 3d 1354 (J.P.M.L. 2016) (“key witnesses and documents are located there,

including evidence from its . . . supplier . . . which has its U.S. regional headquarters in this

district.”); In re Nissan N. Am., Inc., 542 F. Supp. 2d 1367 (J.P.M.L. 2008) (“Because the Middle

District of Tennessee is the location of . . . headquarters, several parties anticipate that relevant

discovery will be found there.”).

       Further, District Judge John M. Gerrard of the District of Nebraska is a highly

accomplished jurist who has been on the bench for 11 years and already has eighteen (18) of the

twenty (22) Member Cases before him.

       In respect to the fourth factor—whether the transferee district is easily accessible to parties

and witnesses—the District of Nebraska, Lincoln District is just as easily accessible as the Eastern

District of Tennessee or Central District of California. This month, there are 216 flights arriving



                                                 7
            Case NE/4:22-cv-03184 Document 7 Filed 10/07/22 Page 9 of 11




at Lincoln Airport, which are 49 flights per week or 7 flights per day. 3 This factor thus either favors

the District of Nebraska or is also a wash as between the venues.

         In respect to the final factor—whether the transferee court has the capacity to devote

sufficient resources to complex consolidated proceedings—the District of Nebraska is just as well

equipped to handle these proceedings as the Eastern District of Tennessee or Central District of

California. As of June 30, 2021, the median time to disposition of a case in the District of Nebraska

was 7.1 months whereas the median time to disposition of a case in the Eastern District of

Tennessee is 10.6 months. 4 Moreover, the District of Nebraska has a smaller percentage of cases

over three years old on its docket (only 5.7%) whereas the Central District of California has close

to 7.5% of its docket consisting of cases over three years old. In addition, there is presently no

MDL pending in the District of Nebraska, demonstrating the court’s capacity to give this

significant matter its due care and consideration. See MDL Statistics Report—Distribution of

Pending MDL Dockets by District (as of Sept. 15, 2021). 5 On the other hand, five MDLs are

presently pending in the Central District of California. See id. at 1. This factor thus either favors

the District of Nebraska or is also a wash as between the two venues.

         Based on these metrics, the District of Nebraska is plainly the superior venue since three

out of five factors clearly favor that venue over the Central District of California or Eastern District

of Tennessee and the other two factors are, at best, a wash.




3
    See https://www.flightconnections.com/flights-to-lincoln-lnk.
4
    See https://www.uscourts.gov/sites/default/files/data_tables/fcms_na_distprofile0630.2021.pdf.
5
   Pending MDLs By District as of September 15, 2021, JPML.USCOURTS.GOV,
https://www.jpml.uscourts.gov/sites/jpml/files/Pending_MDL_Dockets_By_District-September-
15-2022.pdf.

                                                   8
          Case NE/4:22-cv-03184 Document 7 Filed 10/07/22 Page 10 of 11




IV.    CONCLUSION

       For all the foregoing reasons, Plaintiffs respectfully request that the Panel deny the Motion

to Transfer. In the alternative, should the Panel decide that centralization is appropriate, Plaintiffs

respectfully request the MDL be placed before The Honorable District Judge John M. Gerrard of

the District of Nebraska who is already overseeing eighteen (18) of the Member Cases.



 Date: October 7, 2022                                Respectfully submitted,

                                                      /s/ Gary M. Klinger
                                                      Gary M. Klinger
                                                      David K. Lietz*
                                                      MILBERG COLEMAN BRYSON
                                                      PHILLIPS GROSSMAN, PLLC
                                                      227 W. Monroe Street, Suite 2100
                                                      Chicago, IL 60606
                                                      Tel: (866) 252-0878 / Fax: (865) 522-0049
                                                      gklinger@milberg.com
                                                      dlietz@milberg.com

                                                      Rachele R. Byrd
                                                      Alex J. Tramontano
                                                      WOLF HALDENSTEIN ADLER
                                                      FREEMAN & HERZ LLP
                                                      750 B Street, Suite 1820
                                                      San Diego, California 92101
                                                      Tel: (619) 239-4599 / Fax: (619) 234-4599
                                                      byrd@whafh.com
                                                      tramontano@whafh.com

                                                      Carl V. Malmstrom
                                                      WOLF HALDENSTEIN ADLER
                                                      FREEMAN & HERZ LLC
                                                      111 W. Jackson Blvd., Suite 1700
                                                      Chicago, Illinois 60604
                                                      Tel: (312) 984-0000 / Fax: (212) 686-0114
                                                      malmstrom@whafh.com

                                                      M. ANDERSON BERRY
                                                      CLAYEO C. ARNOLD,
                                                      A PROFESSIONAL LAW CORP.
                                                      865 Howe Avenue
                                                      Sacramento, CA 95825
                                                      Tel: (916) 777-7777 / Fax: (916) 924-1829
                                                      aberry@justice4you.com


                                                  9
Case NE/4:22-cv-03184 Document 7 Filed 10/07/22 Page 11 of 11




                               Terence R. Coates
                               Jonathan T. Deters (
                               MARKOVITS, STOCK & DEMARCO,
                               LLC
                               119 E. Court Street, Suite 530
                               Cincinnati, OH 45202
                               Phone: (513) 651-3700
                               Fax: (513) 665-0219
                               tcoates@msdlegal.com
                               jdeters@msdlegal.com

                               Attorneys for Plaintiffs Kennedy Freeman
                               and Aaron Morris

                               Bryan L. Bleichner
                               CHESTNUT CAMBRONNE PA
                               100 Washington Ave., Ste. 1700
                               Minneapolis, MN 55401
                               Phone: (612) 339-7300
                               Fax: (612) 336-2940
                               bbleichner@chestnutcambronne.com

                               Attorney for Plaintiff Carey M. Ballard

                               Raina C. Borrelli
                               raina@turkestrauss.com
                               TURKE & STRAUSS LLP
                               613 Williamson St., Suite 201
                               Madison, WI 53703
                               Telephone (608) 237-1775
                               Facsimile: (608) 509-4423

                               Attorney for Plaintiff Barbara Miller




                             10
